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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       ) NO. 19-CR-00305-RS-2
                                                     )
14           Plaintiff,                              ) NOTICE OF DISMISSAL
                                                     )
15      v.                                           )
                                                     )
16   SETH CARUS,                                     )
                                                     )
17           Defendant.                              )
                                                     )
18
19           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United
20 States Attorney for the Northern District of California dismisses Counts 1 and 2 of the above indictment

21 as to Seth Carus only without prejudice.

22

23 DATED: July 5, 2021                                          Respectfully submitted,
24                                                              STEPHANIE M. HINDS
                                                                Acting United States Attorney
25

26
                                                                THOMAS A. COLTHURST
27                                                              Deputy Chief, Criminal Division
28

     NOTICE OF DISMISSAL
     No. 19-CR-00305-RS-2                                                                     v. 7/10/2018
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 1          Leave is granted to the government to dismiss Counts 1 and 2 of the above indictment as to

 2 Seth Carus only.

 3

 4

 5 Date:                                                      _________________________________
                                                              HON. RICHARD SEEBORG
 6                                                            United States District Judge

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     NOTICE OF DISMISSAL
     No. 19-CR-00305-RS-2                                                                   v. 7/10/2018
